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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JENNER & BLOCK LLP,

        Plaintiff,

 v.                                                     Civil Case No. 1:25-cv-00916-JDB

 U.S. DEPARTMENT OF JUSTICE, et al.,

        Defendants.


              MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Local Civil Rule 83.2, Plaintiff Jenner & Block LLP, hereby moves for the pro

hac vice admission of attorney John C. Bostic in the above-captioned action. This motion is

supported by the Declaration of John C. Bostic, filed herewith. As set forth in Mr. Bostic’s

declaration, he is admitted and is an active member in good standing with the California Bar.

Pursuant to the Local Rules, this motion is further supported and signed by Michael A. Attanasio,

an active and sponsoring member of the Bar of this Court, as well as a certificate of good standing

issued by the California courts.

Dated: April 1, 2025                         Respectfully submitted,

                                             /s/ Michael A. Attanasio
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                                             (mattanasio@cooley.com)
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